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17   FEDERAL TRADE COMMISSION,

18                 Plaintiff,
                                                      Case No. 3:23-cv-2880
19          v.
                                                      Hearing: As soon as the matter may be heard.
20   MICROSOFT CORP.
                                                      PLAINTIFF FEDERAL TRADE
21   and                                              COMMISSION’S REPLY TO
                                                      DEFENDANTS’ OPPOSITION TO
22   ACTIVISION BLIZZARD, INC.,                       PRELIMINARY INJUNCTION MOTION
23                 Defendants.                        REDACTED VERSION OF DOCUMENT
                                                      SOUGHT TO BE SEALED
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1    whether the Proposed Acquisition is unlawful. See FTC v. Warner Commc’ns Inc., 742 F.2d

2    1156, 1162 (9th Cir. 1984) (“Our present task is not to make a final determination on whether

3    the proposed merger violates Section 7[.]”). As the Court already explained, the FTC has the

4    “burden of demonstrating a likelihood of success by presenting evidence sufficient to raise

5    serious, substantial, difficult questions regarding the anticompetitive effects of the proposed

6    [transaction.]” Docket No. 76 at 2 (citation omitted, brackets in original). Once the FTC raises

7    “serious, substantial, difficult questions,” Defendants must dispel any doubts about the legality

8    of their transaction, such that the Court would be “certain[]” and have “no doubt that [the]

9    merger would not substantially lessen competition.” FTC v. Whole Foods Mkt., Inc., 548 F.3d

10   1028, 1035-36 (D.C. Cir. 2008). “[A]ny ‘doubts are to be resolved against the transaction.’”

11   FTC v. Penn State Hershey Med. Ctr., 838 F.3d 327, 337 (3d Cir. 2016) (quoting FTC v. Elders

12   Grain, Inc., 868 F.2d 901, 906 (7th Cir. 1989)).

13          The evidence here amply demonstrates that the FTC satisfies the §13(b) standard and

14   that the equities weigh entirely in favor of preliminarily enjoining the transaction.

15   I.     The FTC raises “substantial questions” about the legality of the Acquisition

16          Defendants endeavor to turn the Court away from the correct legal standard at this

17   preliminary proceeding, while failing to dispel the substantial questions that the FTC has raised.

18   Far from “claiming that it needs to offer only scant proof,” Opp. at 2, the FTC intends to present

19   testimony from senior Microsoft executives, and has more documents supporting its position

20   than it can feasibly introduce during the hearing. See Ex. I to Fleury Dec. in Support of FTC’s

21   Motion for a Temporary Restraining Order (Dkt. No. 10) (FTC’s Part 3 exhibit list). Relying

22   here on only a fraction of the evidentiary record available in the administrative hearing on the

23   merits that is set to begin on August 2, the FTC will show that the Microsoft-Activision entity

24   has the incentive and the ability to harm competition in several well-defined relevant antitrust

25   markets. Finally, neither Microsoft’s ex post agreements nor groundless claims of private injury

26   outweigh the public interest in maintaining the status quo until a full administrative trial on the

27   merits, which begins in just 6 weeks.

28          A.       Defendants Fail to Rebut the FTC’s Market Definitions
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1    23, then it should suffer little to no private hardship from relief that temporarily preserves

2    Activision as a separate company.

3                                             CONCLUSION

4           For the forgoing reasons, Plaintiff Federal Trade Commission respectfully requests that

5    the Court enter the requested preliminary injunction.

6

7    Dated: June 20, 2023                                   Respectfully submitted,

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